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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   DUBLIN DIVISION

UNITED STATES OF AMERICA                    )
                                             )
       v.                                    )          CR 318-007
                                             )
TREVOLIS RAJON CONEY                         )
SHANETRA CONEY                              )
                                        _________

                                        ORDER
                                        _________

       Counsel have advised the Court all pretrial motions have been satisfied or otherwise

resolved. (See doc. no. 84.) Therefore, a hearing on the motions referred to the undersigned

is not necessary, and all such motions are MOOT. (Doc. nos. 37-54, 57-66, 68-75, 77, 78.)

       SO ORDERED this 10th day of September, 2018, at Augusta, Georgia.
